     4:02-cr-00992-JFA        Date Filed 11/08/18        Entry Number 1646      Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                FLORENCE DIVISION

____________________________________
                                                :
THE UNITED STATES OF AMERICA,                   :            4:02-CR-992-JFA
                                                :
                             Respondent,        :            Hon. Joseph F. Anderson, Jr.
                                                :            United States District Judge
                                                :
               v.                               :            CAPITAL CASE
                                                :
CHADRICK E. FULKS,                              :
                                                :
                       Petitioner.              :
____________________________________            :

                     PETITIONER’S UNOPPOSED MOTION TO HOLD
                    PROCEEDINGS IN ABEYANCE FILED IN RESPONSE
                      TO THE COURT’S OCTOBER 25, 2018 ORDER

       Chadrick E. Fulks, a prisoner in the custody of the United States sentenced to death and

housed at the United States Penitentiary, Terre Haute, Indiana, respectfully submits the following

in response to the Court’s October 25, 2018 order:

       1.      On October 25, 2018, this Court directed the parties to submit briefing as to

whether Mr. Fulks’s motion for relief under 28 U.S.C. § 2255 (§ 2255 motion) and the

government’s (Respondent’s) motion to dismiss Mr. Fulks’s § 2255 action are ready to proceed.

In response, Mr. Fulks respectfully requests that his § 2255 proceedings remain in abeyance

pending the outcome of United States v. Simms, 15-4640, which is currently pending before the

United States Court of Appeals for the Fourth Circuit.

       2.      Mr. Fulks’s § 2255 motion challenges, based on the United States Supreme

Court’s opinion in Johnson v. United States, 135 S. Ct. 2551 (2015), his convictions for

possessing or using a firearm during or in relation to a crime of violence and conspiring to do so
     4:02-cr-00992-JFA        Date Filed 11/08/18      Entry Number 1646         Page 2 of 6




as defined by 18 U.S.C. §§ 924(c) and (o). In Johnson, the Supreme Court ruled that the residual

clause of the Armed Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e)(2)(B)(ii), was

unconstitutionally vague because it required courts to employ the categorical approach to

determining if a given offense constituted a violent felony. Johnson, 135 S. Ct. at 2557. This

categorical approach called for courts to envision conduct that a crime involved in the “ordinary

case” and “to judge whether that abstraction presents a serious potential risk of injury.” Id. As

the § 2255 motion explains in greater detail, to qualify as a crime of violence under § 924(c) and

(o), the underlying offenses must fall under either § 924(c)(3)(A)’s “force clause” or under §

924(c)(3)(B)’s “residual clause.” In his § 2255 motion, Mr. Fulks averred that his conviction

cannot be upheld under § 924(c)(3)(B) as it does not satisfy the force clause and the residual

clause requires the same categorical approach that the Supreme Court deemed unconstitutional in

Johnson.

       3.      The government (“Respondent”) filed a Motion to Dismiss which argued, inter

alia, that Mr. Fulks’s § 2255 motion was untimely because it was premature. Per Respondent,

because Johnson did not specifically address § 924(c)(3)(B), he was not relying on Johnson but

an extension of it as Johnson only addressed the residual clause in ACCA. See Dkt. No. 1626 at

3.

       4.      Mr. Fulks responded that his § 2255 motion did not rely on an extension of

Johnson, but Johnson itself. Mr. Fulks explained that Johnson did not only invalidate ACCA’s

residual clause, but the defective categorical approach which required courts to assess risk of a

hypothetical crime in the context of the ordinary case analysis. As § 924(c)(3)(B) had the same

defects that rendered the residual clause in ACCA unconstitutional under Johnson, Johnson

rendered § 924(c)(3)(B) invalid. Dkt. No. 1635 at 2-9.



                                                 2
     4:02-cr-00992-JFA        Date Filed 11/08/18      Entry Number 1646         Page 3 of 6




       5.      On July 11, 2017, this Court held these proceedings in abeyance pending the

outcome of Sessions v. Dimaya, S. Ct. 15-498. In Dimaya, the Supreme Court considered

whether 18 U.S.C. § 16(b), a statute that was identical to the residual clause of § 924(c)(3)(B),

was void for vagueness under Johnson. 1 On April 17, 2018, the Supreme Court issued its

opinion in Dimaya, noted that § 16(b) had the same two defects that rendered ACCA’s residual

clause void for vagueness, and held that § 16(b) was unconstitutional under Johnson. See

Sessions v. Dimaya, 138 S. Ct. 1204 (2018).

       6.      Post-Dimaya, four Courts of Appeals have held that § 924(c)(3)(B) is void for

vagueness. In United States v. Cardena, 842 F.3d 959 (7th Cir. 2016), before Dimaya was

issued, the Seventh Circuit found § 924(c)(3)(B) to be void for vagueness under Johnson. After

Dimaya was issued, the Fifth, Tenth, and District of Columbia Circuits found § 924(c)(3)(B) to

be void for vagueness. United States v. Davis, 903 F.3d 483, 485 (5th Cir. 2018); United States

v. Salas, 889 F.3d 681, 686 (10th Cir. 2018); United States v. Eshetu, 898 F.3d 36, 37-38 (D.C.

Cir. 2018).

       7.      Three Courts of Appeals have recognized that Dimaya either invalidated or cast

doubt on the constitutionality of using the categorical approach in § 924(c)(3)(B), but ruled that

this issue should be avoided by interpreting § 924(c)(3)(B) to require a conduct-specific analysis

that focuses on the facts of the case rather than the categorical approach discussed above. United

States v. Douglas, 2018 U.S. App. LEXIS 28825 (1st Cir. Oct. 12, 2018); United States v.




1
  The residual clause of § 16(b) defined a crime of violence as “any other offense that is a felony
and that, by its nature, involves a substantial risk that physical force against the person or
property of another may be used in the course of committing the offense.” 18 U.S.C. § 16(b).
The residual clause of § 924(c) defines a crime of violence as a felony “that by its nature,
involves a substantial risk that physical force against the person or property of another may be
used in the course of committing the offense.” 18 U.S.C. § 924(c)(3)(B).
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     4:02-cr-00992-JFA        Date Filed 11/08/18     Entry Number 1646         Page 4 of 6




Barrett, 903 F.3d 166, 180-83 (2d Cir. 2018); Ovalles v. United States, 2018 U.S. App. LEXIS

28144 (11th Cir. Oct. 4, 2018). 2

       8.      Mr. Fulks respectfully requests that his case remain in abeyance pending the

United States Court of Appeals for the Fourth Circuit’s disposition of United States v. Simms,

15-4640. In Simms, the Fourth Circuit considers the constitutionality of § 924(c)(3)(B) under

Johnson and Dimaya, including the issue of whether a categorical or fact-specific analysis is

appropriate. The Fourth Circuit has granted en banc review in Simms and the parties have

completed supplemental briefing on Dimaya and oral argument. The outcome of Simms will be

relevant to Mr. Fulks’s claim for relief and additional briefing on Simms may be necessary

depending on the outcome. It will also be more efficient for the parties to submit additional

briefing on Dimaya and Simms simultaneously. Petitioner respectfully submits that holding his

proceedings in abeyance until the Fourth Circuit issues its opinion in Simms is appropriate.

       9.      Counsel for Mr. Fulks consulted with counsel for Respondent regarding

Respondent’s position on this Motion. On November 5, 2018, counsel for Respondent indicated

that, although Respondent maintains that Mr. Fulks’s § 2255 motion is untimely as the law

stands, Respondent does not object to holding the case in abeyance until the Fourth Circuit issues

its decision in Simms.




2
 The Courts of Appeals for the Sixth and Eighth Circuits ruled that § 924(c)(3)(B) was
constitutional pre-Dimaya, but have not, to counsel’s knowledge, addressed the status of §
924(c)(3)(B) post-Dimaya. See United States v. Taylor, 814 F.3d 340, 379 (6th Cir. 2016);
United States v. Prickett, 839 F.3d 697, 699 (8th Cir. 2016).
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     4:02-cr-00992-JFA       Date Filed 11/08/18       Entry Number 1646         Page 5 of 6




       For the foregoing reasons, Petitioner respectfully requests that his case be held in

abeyance pending the Fourth Circuit’s disposition of United States v. Simms, 15-4640.

                                                     Respectfully Submitted,

                                                     /s/ Peter Williams
                                                     Claudia Van Wyk
                                                     Peter Williams
                                                     Assistant Federal Defenders
                                                     Federal Community Defender Office
                                                      for the Eastern District of Pennsylvania
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                                                     Counsel for Petitioner
Dated: November 8, 2018




                                                 5
     4:02-cr-00992-JFA       Date Filed 11/08/18      Entry Number 1646         Page 6 of 6




                                     Certificate of Service

       I, Peter Williams, hereby certify that on this 8th day of November, 2018, I served the

foregoing Response and Motion by ECF filing on the following party:

                             Robert F. Daley, Esq.
                             Office of the United States Attorney
                             1441 Main Street, Suite 500
                             Columbia, SC 29201


                                                    /s/ Peter Williams
                                                    Peter Williams
